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                                                                                        FILED
                                                                            United States Court of Appeals
                        UNITED STATES COURT OF APPEALS                              Tenth Circuit

                              FOR THE TENTH CIRCUIT                               February 1, 2023
                          _________________________________
                                                                                Christopher M. Wolpert
                                                                                    Clerk of Court
  UNITED CAPITAL MANAGEMENT OF
  KANSAS,INC.; CHAD M. KOEHN,

        Plaintiffs Counter Defendants -
        Appellees

  v.                                                              No. 23-3005
                                                      (D.C. No. 5:22-CV-04008-JWB-TJJ)
  MICHAEL E. NELSON,                                               (D. Kan.)

        Defendant Crossclaimant -
        Appellant.
                       _________________________________

                                       ORDER
                          _________________________________

 Before HARTZ, MATHESON, and BACHARACH, Circuit Judges.
                   _________________________________

        Pro se defendant Michael E. Nelson appealed an interlocutory order entered by the

 district court addressing middle case management procedural matters. This court

 challenged the appellant to demonstrate appellate jurisdiction. The appellant filed his

 Show Cause Reply to Interlocutory Appeal Jurisdiction. At the court’s direction, the

 appellees filed a response to the appellant’s memorandum brief. Upon consideration of

 the district court record, the parties’ responses to the jurisdictional challenge, and the

 applicable law, we dismiss this appeal for lack of jurisdiction.

        This court generally has jurisdiction to review final decisions of the district courts,

 see 28 U.S.C. § 1291, and specific types of interlocutory and collateral orders not
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 applicable here, see 28 U.S.C. § 1292; Fed. R. Civ. P. 54(b); Cohen v. Beneficial Indus.

 Loan Corp., 337 U.S. 541, 545–46 (1949). Piecemeal review of interlocutory district

 court orders is not allowed because “fragmentary and piecemeal review of the district

 court’s myriad rulings in the course of a typical case” would create an excessive burden

 on appellate courts. Southern Ute Indian Tribe v. Leavitt, 564 F.3d 1198, 1207 (10th Cir.

 2009) (quoting Boughton v. Cotter Corp., 10 F.3d 746, 748 (10th Cir. 1993)).

        In this appeal, the appellant seeks review of the district court’s order denying five

 motions requesting review or reconsideration of procedural orders previously issued by

 the magistrate judge, directing the appellant to register for electronic notice of court

 proceedings, and directing the appellant to show cause why he should not be sanctioned

 for his conduct during the litigation. The underlying district court case has not concluded,

 and no final judgment has been entered. See Fed. R. Civ. P. 58. Further, none of the

 available exceptions to the final judgment rule apply to the order being appealed. See,

 e.g., 28 U.S.C. § 1292(a)&(b); Fed. R. Civ. P. 54(b); See Cohen v. Beneficial Industrial

 Loan Corp., 337 U.S. 541 (1949). Therefore, the order is purely interlocutory and not

 eligible for immediate appeal. We agree with the appellees that the appellant’s arguments

 in support of appellate jurisdiction are not persuasive.




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        In sum, we lack jurisdiction to consider this appeal, and the appeal is therefore

 dismissed. D&H Marketers, Inc. v. Freedom Oil & Gas, Inc., 744 F.2d 1443, 1444 (10th

 Cir. 1984) (“Jurisdiction to consider an appeal is not discretionary.”).


                                               Entered for the Court



                                               CHRISTOPHER M. WOLPERT, Clerk




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